Case 3:18-cv-03105-TLB Document 28 Filed 08/20/19 Page 1 of 4 PagelD #: 139

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
HARRISON DIVISION

DALE SHEPARDSON, Individually and on Behalf of
All Others Similarly Situated . PLAINTIFF
V. CASE NO. 3:18-CV-3105
MIDWAY INDUSTRIES, INC.;
TOOL STEEL SERVICE, INC; and
TOOL STEEL SERVICE OF CALIFORNIA, INC. DEFENDANTS
OPINION AND ORDER

Currently before the Court is the parties’ Amended Joint Motion for Stipulated
Collective Action Settlement and Settlement Approval (Doc. 26). The parties previously
requested Court approval of a settlement agreement on March 6, 2019. See Docs. 20-
21. However, the Court found the parties’ proposed settlement deficient in a number of
ways and denied the motion in a Memorandum Opinion and Order issued on July 1, 2019
(Doc. 24). In that Order, the Court explained its concerns regarding the settlement in
some detail, including the following: that the proposed settlement agreement contained
insufficient opt-in procedures; that the proposed settlement agreement did not adequately
advise class members of their rights concerning Rule 23 claims made pursuant to the
Arkansas Minimum Wage Act (“AMWA”); that the proposed settlement agreement’s
proposal for a common recovery fund did not properly disaggregate Fair Labor Standards
Act (“FLSA”) claims from AMWA claims; and that the Court could not reasonably
determine, given the information provided by the parties at the time, whether the proposed
settlement fully compensated all of the settlement class members for their claims or

whether the settlement instead constituted a compromise of the class members’ claims.

 

 
Case 3:18-cv-03105-TLB Document 28 _ Filed 08/20/19 Page 2 of 4 PagelD #: 140

It appears the parties took the Court's criticisms to heart and have submitted a
revised settlement agreement for approval. Upon review of the revised agreement (Doc.
26-1), the Court is satisfied that its previous concerns have now been addressed. First,
the revised settlement agreement no longer attempts to settle claims on a class-wide
basis for purported violations of the AMWA pursuant to a Rule 23 “opt-out” class action
procedure. Instead, the parties seek only the certification of an “opt-in” sattioniinit class
under the FLSA. Second, the parties have revised the process by which settlement class
members may opt into the class. The class members will now receive a form advising
them of the terms of the settlement and their opportunity to opt in. Then they will be
instructed to fill out an opt-in consent form (Doc. 26-2) and send that form to class counsel
by a date certain. Any class members who do not timely complete their opt-in forms will
not participate in the settlement and will not release any potential claims against
Defendants. Third, the parties have calculated the total amount of unpaid overtime
premiums to be paid to the sixteen known class members—plus Plaintiff—and have
included in that calculation an amount of liquidated damages pursuant to the FLSA.
Accordingly, Defendants have agreed to a class settlement fund of $5,344.42, which
represents a full, uncompromised settlement amount. Finally, the parties have separately
negotiated the amount of class counsel's attorney’s fees, and the payment of class
counsel's fees will not impair or reduce the Plaintiff's or the class’s recovery.

IT IS THEREFORE ORDERED that the Amended Joint Motion for Stipulated
Collective Action Settlement and Settlement Approval (Doc. 26) is GRANTED. In

granting the motion, the Court makes the following specific findings:

 
Case 3:18-cv-03105-TLB Document 28 Filed 08/20/19 Page 3 of 4 PagelD #: 141

1. Plaintiff and Defendants engaged in a bona fide dispute that was contested,
litigated, and ultimately settled as a result of arms’-length negotiations.

2. A collective action pursuant to the FLSA is certified for settlement purposes
only, with the settlement class defined as follows:

All current and former employees of Midway who received paid time off in

exchange for working overtime hours between October 5, 2015, and the

date of execution of this Settlement Agreement.

3. The Court has reviewed the proposed Settlement Agreement (Doc. 26-1)
and finds it to be fair, just, reasonable, and adequate to the class.

4. The notice (Doc. 26-2) and opt-in procedures (Doc. 26-1 at 2) that have
been submitted by the parties comport with due process and appropriately inform the
class as to the claims at issue. Accordingly, the notice and opt-in forms are approved by
the Court, and they should be distributed in the manner set forth in the Settlement
Agreement.

5. The Court appoints Josh Sanford of Sanford Law Firm, PLLC, to serve as
class counsel. The Court believes class counsel will fairly and adequately protect the
interests of the class.

6.. As per the parties’ Settlement Agreement, Defendants are to pay class
counsel the total sum of $9,900.00 for attorney's fees, costs, and expenses related to the
lawsuit. This payment of fees, costs, and expenses is separate from the total amount of
funds that Defendants agree to pay to the class in settlement. Consequently, the parties

aver that the amount class counsel will receive in fees and costs will not undercut

Plaintiff's or the class’s recovery.

 
Case 3:18-cv-03105-TLB Document 28 Filed 08/20/19 Page 4 of 4 PagelD #: 142

7. Defendants agree to pay the total sum of $5,344.42 to the class members
in settlement of their claims. Defendants will deliver the settlement checks to class
counsel after the ninety-day opt-in period specified in the Settlement Agreement has
expired. See Doc. 26-1 at 3. Class counsel will then distribute the checks to the class
members.

8. Defendants also agree to deliver to class counsel a separate check in the
amount of $2,000 for Plaintiff Dale Shepardson. Plaintiff agrees that this payment will fully
resolve any and all claims he has separately asserted in this lawsuit against Defendants,
including his individual claims for wrongful termination and denial of employment benefits.
A separate settlement agreement will be executed between Plaintiff and Defendants
concerning Plaintiff's non-wage-and-hour claims. Accordingly, Plaintiffs separate claims
are DISMISSED WITH PREJUDICE due to settlement.

This case is CLOSED, but the parties may move to reopen it if some aspect of the
settlement and/or distribution of funds to Plaintiff, the class, or class counsel are not
completed or if Court intervention is othenyse required.

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IT IS SO ORDERED on this 20 day of Augu

  
  
  

 

L. BR@OKS
TED/STAJES DISTRICT JUDGE

 
